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                  United States Court of Appeals
                               For the First Circuit


      No. 23-1593

                                   SAMANTHA PIKE,

                               Plaintiff, Appellant,

                                   NATASHA IRVING,

                                        Plaintiff,

                                            v.

                CHARLES F. BUDD, JR., in his individual capacity,

                                Defendant, Appellee.


                   APPEAL FROM THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE

                   [Hon. Lance E. Walker, U.S. District Judge]


                                         Before

                            Gelpí, Howard, and Kayatta,
                                  Circuit Judges.


           Sean Ouellette, with whom Shelby Leighton, Public Justice,
      Laura H. White, and White & Quinlan, LLC were on brief, for
      appellant.

           Susan M. Weidner, with whom Melissa A. Hewey and Drummond
      Woodsum were on brief, for appellee.
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                                   March 28, 2025
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                   GELPÍ, Circuit Judge.     Plaintiff-Appellant Samantha Pike

      ("Pike"), a licensed alcohol and drug treatment counselor employed

      by   Wellspring,    Inc.   ("Wellspring"),       worked    at   Maine's    Adult

      Treatment and Recovery Court (TRC), a voluntary treatment and

      recovery program, in Penobscot County.           Defendant-Appellee Charles

      Budd, Jr. ("Budd") was the presiding judge who oversaw TRC.                    As

      the presiding judge, Budd attended an out-of-state, work-related

      conference alongside other TRC members, including Pike.                  At that

      conference, Budd made unwelcome sexual advances towards Pike which

      then, upon returning to Maine, continued in his chambers at TRC.

      Pike filed a § 1983 action against Budd, which the district court

      dismissed, finding that Budd was entitled to qualified immunity

      because case law did not clearly establish that Budd would violate

      the Equal Protection Clause in this context.                     After careful

      consideration, we conclude that Pike has plausibly alleged a

      violation of the equal protection right to be free from a hostile

      work environment and that right is clearly established.                 Thus, we

      vacate the dismissal and remand for further proceedings.

                                     I. Background

                                         A. Facts1

                   In 2020, Wellspring promoted Pike from counselor to

      program director, making her the lead treatment provider for TRC.


            1   The facts are taken from the second amended complaint as it



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      Although Pike was directly employed by Wellspring, she was a member

      of the TRC team.      After Pike was promoted, Budd began to bring

      Boston cream doughnuts for the entire TRC team every Wednesday.

                  The TRC team consists of trained individuals such as the

      presiding judge, prosecutor, defense counsel, probation officers,

      case managers, treatment providers, law enforcement officers, and

      a coordinator.     See State of Me. Jud. Branch, Adult Treatment and

      Recovery Courts, https://www.courts.maine.gov/courts/treatment/a

      dult.html [https://perma.cc/T7TM-G2FK] (noting that key components

      of TRC include "[i]ntensive judicial oversight" by the presiding

      judge and a "[m]ulti-disciplinary treatment team . . . whom have

      received specialized training").         As alleged in the second amended

      complaint at issue in this appeal, Pike spent most of her time

      working    on   TRC-related       matters    and     appeared     before       Budd

      approximately sixteen to twenty-five hours each month.                  This work

      included case work for TRC clients and preparing for court-related

      meetings with the TRC team. The program required frequent meetings

      with the entire TRC team, including Budd, on a weekly or biweekly

      basis.      Budd   supervised      the   TRC     team,    entitling      him    to

      decision-making authority over certain aspects related to TRC.

      Budd had the ability to remove members from the team, approve


      is "the most recent and most complete version of the pleading" and
      because each ruling turned on qualified immunity and the
      sufficiency of the pleading. See Corban v. Sarepta Therapeutics,
      Inc., 868 F.3d 31, 34 (1st Cir. 2017).


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      absences from meetings, and decide whether to renew Wellspring's

      contract with TRC.      With respect to Pike, Budd had the capacity to

      direct her work, remove her from the treatment team, and determine

      whether her clients would remain in the program.                The success of

      Pike's clients affected her Wellspring performance evaluations.

                                      1. Conference

                  In   July   2022,    Pike   and   Budd   attended    the   National

      Association of Drug Court Professionals Conference in Nashville,

      Tennessee, which all members of the TRC team were "effectively

      required" to attend.      Prior to the conference, Budd gave Pike his

      personal cell phone number so that they could reach each other

      during the conference.          Pike and Budd stayed at the same hotel

      whereas the other TRC members stayed at another.

                  On the evening of the first day of the conference, Budd

      and Pike saw each other at a downtown rooftop bar and spoke a few

      times.    At the end of the evening, Budd asked Pike if she would

      like to share a car back to the hotel.           During the car ride, Budd

      asked her what room she was staying in.         After Pike told Budd which

      room, he responded that he was staying directly across the hall

      from her.    However, Budd's room in fact was on a different floor.

      When they arrived at the hotel, Budd walked with Pike to the

      elevator.    In the elevator, Budd told Pike she was pretty, which

      made her feel uncomfortable.            They got off the elevator, walked

      down the hall, and when Pike opened her door, Budd held it open


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      behind her.     Budd said, "Well, I'm not going to come in unless you

      invite me in."      Pike felt unsafe and frightened, did not respond,

      and backed out of the room into the hallway.           Budd invited Pike to

      have a drink in the lobby.         Pike looked in her purse and stated

      that she did not have her phone or wallet, nervously trying to

      avoid drinks with Budd.       Budd offered to pay for her drink.            Then

      Pike said she did not have her ID on her to which Budd responded

      he would go to the bar and order for her.          She agreed in fear that

      saying no to Budd would negatively affect her work at TRC.

                   When they arrived at the lobby bar, Pike immediately

      went to the bathroom to calm herself down.             Budd got the drinks

      and sat with Pike.      Budd told her details about his personal life

      including his "rocky" marriage, how his wife often accused him of

      cheating, and that, as a judge, women often sexually propositioned

      him.      Budd told Pike he deletes his text messages, showed her his

      phone, asked if she thought the deleted messages were strange, and

      stated that his wife did not like the deleted messages.               Budd asked

      Pike about her personal life, and Pike said she was married with

      children.     Then Budd stated that he thought two of the TRC clients

      were attractive and that he hoped no one thought he was favoring

      those two clients, which made Pike feel uncomfortable and that she

      needed to get away from Budd.            This conversation lasted about

      thirty minutes.      Pike told Budd she was tired and would be going




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      up to her room.    She asked Budd if he needed help finding his room

      and he responded that he knew "exactly" where his room was.

                  The next day, Pike called her husband to tell him

      everything that had happened with Budd. Budd texted Pike and asked

      to share a car to dinner.         Pike did not want to ride alone with

      Budd so she told some of her coworkers what happened and asked

      them to go to dinner with her so she could avoid Budd.               Pike then

      responded to Budd stating that she was riding with others and that

      he could meet everyone else at the other hotel.                Pike and her

      coworkers tried to get another judge to go to dinner in the hopes

      that Budd would not pursue Pike if another judge was present.

      Later, Budd arrived at the other hotel and stood in the hallway

      outside a coworker's room and said, in reference to an open

      suitcase, "I can see your undergarments from here."              This caused

      Pike to feel uncomfortable.

                  During the dinner, Budd followed Pike around and tried

      to converse with her.     Budd asked Pike where she and everyone else

      was going and followed them to the bar.        Multiple times throughout

      the night, Budd came up behind Pike and tried to talk to her.              Pike

      felt uncomfortable and asked the TRC probation officer to stay

      beside her.    At one point, Pike stepped outside with the probation

      officer to discuss Budd's behavior, but Budd followed them outside

      and stood directly behind Pike.       Next, the TRC team went to a line

      dancing bar.    Budd sat next to Pike and stated that she was "much


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      prettier" than the bartender.             Budd followed Pike around the bar

      and told her not to leave without him, which made her feel

      uncomfortable given his authority over her on the TRC team.                       One

      of Pike's coworkers commented that Budd was following Pike "with

      his eyes" and that he would pop up behind Pike's shoulder every

      time she tried to get away from him.                 So Pike asked some of her

      coworkers to help her leave unnoticed.                  Pike pretended to go to

      the bathroom with her coworkers and left the bar early.                          Pike

      texted Budd to let him know she left.                  Budd texted back, "Can't

      believe you ditched me."               Pike apologized and said it was not

      intentional.         Budd said, "I haven't been ditched in a long time.

      But I recognize the rhythms.            No more Boston creams for you."          Pike

      did not respond.

                       The next day, Pike went to the conference but skipped

      the sightseeing tour that the rest of the TRC team did.                     Budd and

      Pike did not interact during the rest of the conference.                         When

      Pike      flew    back   home,   she    called   Sarah    Falvey     ("Falvey"),    a

      Wellspring         supervisor,    to     discuss      Budd's     conduct    at    the

      conference.        Pike also spoke with Wellspring human resources about

      Budd.

                                              2. TRC

                       Pike did not go to TRC the week following the conference

      and asked some coworkers to go in her place.                 Pike returned to TRC

      two weeks later accompanied by Falvey at Pike's request.                         When


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      Pike walked in, Budd walked over and placed a bag with two Boston

      cream doughnuts in front of her.          Pike and Falvey attended a team

      meeting together and then Falvey left.                 Pike remained in the

      courtroom with a case manager, Ryan Auffant ("Auffant").                       Budd

      walked into the courtroom wearing his judicial robe and summoned

      Pike to his chambers.         Auffant quietly asked Pike if she was going

      to be okay.       Not wanting to cause a scene, Pike went into Budd's

      chambers alone. In his chambers and while still wearing his robes,

      Budd said he had been "thinking a lot" about the trip and that he

      would be "making a lot of changes at home," from which Pike

      inferred that he was going to leave his wife.              Pike believed Budd

      shared this because he intended to pursue a relationship with her.

      Pike did not say much and began to exit his chambers.                   As she was

      walking out, Budd came up behind her and said, "one more thing.

      You are a very good listener."         Once Pike reached the team meeting

      area, she broke down in tears.            Another case manager asked what

      had happened and when Pike told him, he told her to leave for the

      day.

                                    B. Procedural History

                    On November 16, 2022, Pike and Natasha Irving2 filed a

      § 1983 claim against Budd alleging that he violated the Equal

      Protection      Clause   by    engaging   in   sexually    harassing       conduct



             2   Irving is not a party to this appeal.


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       creating    a   hostile    work    environment.          Pike    v.      Budd,    No.

       1:22-cv-00360, 2023 WL 3997267, at *1, *3 (D. Me. June 14, 2023).

       Budd filed a motion to dismiss raising a qualified immunity

       defense, which the district court granted on June 14, 2023.                       Id.

       at *12. The district court engaged in a color of state law analysis

       and, assuming without deciding that Pike alleged sufficient facts

       to state a plausible sexual harassment claim,3 noted that Budd

       likely   was    not   acting    under   color    of    state    law    during     the

       conference.     Id. at *5-6.      Rather, the district court granted the

       motion to dismiss based on its conclusion that Budd was entitled

       to qualified immunity because a reasonable official in Budd's

       position would not have known that his sexual advances towards a

       private employee violated the Equal Protection Clause.                        Id. at

       *5-8. Focusing on the "clearly established" prong of the qualified

       immunity   analysis,      the   district   court      determined      that    Pike's

       private employment did not put Budd on notice that his conduct was

       violating a constitutional guarantee.           Id. at *9-11.         The district

       court based this on the lack of "circuit authority that employees

       of private companies have viable claims under section 1983 against

       state actors who participate or share in their work activity."


            3 The district court did note, however, that assuming Budd
       had been acting under the color of state law and putting aside the
       issue of Pike's employment status, "[f]or purposes of ruling on a
       motion to dismiss, . . . Pike's allegations appear to state a
       plausible claim of sex-based harassment in the workplace." Pike,
       2023 WL 3997267, at *7 n. 9.


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       Id. at *10.    Thus, the district court concluded that, at the time

       Budd sexually harassed Pike, the law was not clearly established

       to put Budd on notice that sexually harassing a private employee

       contracted to provide services to the state violates the Equal

       Protection Clause.     Id. at *10-12.

                  Pike filed a motion for relief from judgment and motion

       for leave to amend, both of which the district court denied.              Pike

       v. Budd, No. 1:22-cv-00360, 2023 WL 5431677, at *2 (D. Me. Aug. 23,

       2023).   Upon review, the district court noted that the qualified

       immunity analysis hinges on state supervisory authority rather

       than private employment status.          Id. at *1.      Yet, the district

       court determined that its conclusion remained the same because

       Pike's employment status strongly affects whether Budd would have

       been on notice that he supervised Pike in their workplace setting.

       Id. at *2.    Pike timely appealed.

                                        II. Analysis

                  In the district court, Budd raised three independent

       arguments in support of his motion to dismiss: (1) that Pike had

       failed to plausibly allege Budd acted under color of state law;

       (2) that Pike had failed to plausibly allege she was subjected to

       actionable sexual harassment under the Equal Protection Clause;

       and (3) that Budd was entitled to qualified immunity. The district




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       court resolved the case in favor of Budd on qualified immunity

       grounds, but the parties contest all three issues on appeal.

                                A. Standard of Review

                  We review de novo a district court's dismissal for

       failure to state a claim, including when the dismissal is based on

       qualified immunity.      Ablordeppey v. Walsh, 85 F.4th 27, 32 (1st

       Cir. 2023) (citing Douglas v. Hirshon, 63 F.4th 49, 54-55 (1st

       Cir. 2023)).    Upon review, we accept the well-pleaded facts from

       the complaint as true and draw reasonable inferences from those

       facts in the plaintiff's favor.        Burt v. Bd. of Trs. of Univ. of

       R.I., 84 F.4th 42, 50 (1st Cir. 2023) (citing SEC v. Tambone, 597

       F.3d 436, 441 (1st Cir. 2010) (en banc)).         To survive a motion to

       dismiss, the complaint need only state sufficient factual matter

       to satisfy facial plausibility.       Ashcroft v. Iqbal, 556 U.S. 662,

       679 (2009).    "A claim has facial plausibility when the plaintiff

       pleads factual content that allows the court to draw the reasonable

       inference that the defendant is liable for the misconduct alleged."

       Id. at 678 (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556

       (2007)).      Even   though   post-judgment     decisions     are    reviewed

       deferentially, we review these decisions de novo when they turn on

       the same matter of law underlying the motion to dismiss.              Corban,

       868 F.3d at 34.      We begin our discussion with the viability of

       Pike's § 1983 claim and end with qualified immunity.




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                                       B. Section 1983

                     To plead a plausible § 1983 claim, the plaintiff must

       allege that the defendant acted under color of state law and that

       the      defendant's      conduct         violated      a        protected     right.

       Barreto-Rivera v. Medina-Vargas, 168 F.3d 42, 45 (1st Cir. 1999);

       42 U.S.C. § 1983.

                                   1. Color of State Law

                     "The traditional definition of acting under color of

       state law requires that the defendant in a [§] 1983 action have

       exercised power 'possessed by virtue of state law and made possible

       only because the wrongdoer is clothed with the authority of state

       law.'"       West v. Atkins, 487 U.S. 42, 49 (1988) (quoting United

       States v. Classic, 313 U.S. 299, 326 (1941)).                "[S]tate employment

       is generally sufficient to render the defendant a state actor."

       Id. (alteration in original) (quoting Lugar v. Edmondson Oil Co.,

       457 U.S. 922, 936 n.18 (1982)).            "[T]he primary focus of the color

       of    law    analysis   must   be   on    the     conduct   of    the   [official]."

       Barreto-Rivera, 168 F.3d at 47.             "The distinction between private

       conduct and state action turns on substance, not labels."                      Lindke

       v. Freed, 601 U.S. 187, 197 (2024).                  "It is firmly established

       that a defendant in a § 1983 suit acts under color of state law

       when he abuses the position given to him by the State."                      West, 487

       U.S. at 49-50.        The official's conduct must occur "in the course

       of performing an actual or apparent duty of his office" or "the


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       conduct is such that the [official] could not have behaved in that

       way but for the authority of his office."              Martinez v. Colon, 54

       F.3d 980, 986 (1st Cir. 1995); see also Lindke, 601 U.S. at 198-

       99.      This inquiry turns on the "nature and circumstances" of the

       alleged conduct and the "relationship of that conduct" to the

       official's status or duties.         Jakuttis v. Town of Dracut, 95 F.4th

       22, 29 (1st Cir. 2024) (quoting Martinez, 54 F.3d at 986).                     We

       look to the totality of the circumstances to distinguish private

       action     from   state   action.      See     Martinez,    54   F.3d    at   987;

       Zambrana-Marrero v. Suarez-Cruz, 172 F.3d 122, 125-26 (1st Cir.

       1999).      Private action "outside the line of duty and unaided by

       any indicia of actual or ostensible state authority, is not conduct

       occurring under color of state law."           Martinez, 54 F.3d at 986-87.

                    Budd argues that state action is limited by time and

       setting and since the alleged sexual harassment at the conference

       occurred after the conference programming had ended each night,

       there is no state action here.            Whether or not this contention

       would succeed if time and setting were dispositive, time and

       setting are only factors in our totality of the circumstances

       analysis.      See id. at 987.      To the extent that it may be argued

       that Budd's alleged misconduct at the conference was a "purely

       personal pursuit[]" rather than state action, Parrilla-Burgos, 108

       F.3d at 449 (quoting Martinez, 54 F.3d at 987), the totality of

       the circumstances yields a different conclusion.


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                   The second amended complaint alleges that Budd was the

       presiding    judge   of    TRC,   plausibly     alleging     his    supervisory

       relationship to Pike.          As the presiding judge, Budd had the

       authority to make decisions concerning management of the TRC

       treatment team.      This included removing members from the team,

       approving absences from team meetings, directing Pike's work with

       TRC, and renewing Wellspring's contract with TRC.                Budd also had

       the authority to decide whether Pike's TRC clients would be removed

       from the program.         Thus, the complaint plausibly alleges that

       Budd's   position    as    a   state   court    judge    provided       him   with

       supervisory authority over Pike's work for the TRC.                The complaint

       also alleges that TRC treatment members were expected to attend

       the conference.      Therefore, Budd attended the conference only

       because of his position as presiding judge, and Pike likewise

       attended only because it was her duty to do so as a TRC treatment

       team member.    Moreover, as noted, there was a moment on the first

       night of the conference when Budd commented to Pike that he was

       often sexually propositioned because he was a judge.                His obvious

       position as a judge, his supervisory authority over Pike because

       of his judicial position, and his statement to her connecting his

       judicial position to the availability to him of sexual favors

       suggest that he was acting under color of state law.

                   The Eleventh Circuit's decision in Griffin v. City of

       Opa-Locka, 261 F.3d 1295 (11th Cir. 2001), is instructive.                     The


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       court there was faced with a case where a city manager raped a

       city employee at her apartment following a local Rotary Club

       meeting.       Id. at 1298–300.      In considering the state-action issue,

       the court noted that city employees were expected to attend Rotary

       Club meetings and pointed to the fact that the city manager had

       discussed the victim's work for the city on their way to her

       apartment and continued to invoke his authority over her to harass

       her after the assault.           Id. at 1304.           The court thus held that

       there was evidence from which a reasonable jury could conclude

       that the city manager was acting under the color of state law when

       he committed the assault.            Id. at 1303.

                      The circumstances relevant to the state-action analysis

       here     are   comparable.       Pike     has    alleged     that    members      of    the

       treatment court team "were expected -- and effectively required --"

       to attend the Nashville conference.                   Pike has also alleged that

       Budd made comments related to their work as they sat in the hotel

       bar after he attempted to invite himself into her room.                        And, again

       as noted, Budd allegedly told Pike that he was often sexually

       propositioned by women due to his role as a judge and that he hoped

       the TRC team did not think that he gave favorable treatment towards

       two of their female clients that he found particularly attractive.

                      But    we   needn't   go    so   far    as   to   conclude       that,   in

       isolation, the complaint adequately alleges state action at the

       conference.          That is so, because just as it was Pike's and Budd's


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       work for the TRC that brought them to the conference in Nashville,

       it was their work for the TRC that brought them to the courthouse

       back in Maine.      Critically, Pike has additionally alleged that

       Budd invoked his authority over her to continue his harassment

       when they got back to Maine.      Specifically, she reasonably alleges

       that he summoned her individually to his chambers and made comments

       there that she understood to mean that he planned on leaving his

       wife and intended to continue pursuing Pike.

                  Taken as a whole, these allegations are sufficient to

       plausibly establish that Budd was acting under color of state law

       to create a hostile environment for Pike.4           Cf. Zambrana-Marrero

       v. Suarez-Cruz, 172 F.3d 122, 127 (1st Cir. 1999) (finding "that

       a jury reviewing the 'nature and circumstances' of [defendants']

       conduct and the 'relationship of that conduct to the performance

       of [their] official duties,' could conclude that they acted under




            4  In reaching this conclusion, we do not endorse Pike's
       argument that a state official invariably acts under the color of
       state law when he sexually harasses someone over whom he exercises
       supervisory authority. Pike points to no court that has adopted
       such a rule; to the contrary, we have instructed that "[n]o single,
       easily determinable factor will control" the state-action inquiry.
       Zambrana-Marrero v. Suarez-Cruz, 172 F.3d 122, 12 (1st Cir. 1999)
       (quoting Barreto-Rivera v. Medina-Vargas, 168 F.3d 42, 45 (1st
       Cir. 1999)); see also Lindke, 601 U.S. at 196 ("[T]he state-action
       doctrine avoids such broad-brush assumptions -- for good
       reason.").   Indeed, Pike conceded below that it would be more
       difficult to attribute Budd's alleged misconduct to the state if
       it occurred after he ran into Pike by chance at the grocery store
       or on vacation.


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       color of state law, albeit in clear abuse of their authority"

       (third alteration in original) (quoting Martinez, 54 F.3d at 986)).

                     2. Deprivation of a Federally Secured Right

                    a. Hostile Work Environment Claims Under § 1983

                    "Although   the     Supreme      Court   has    never       explicitly

       considered whether sexual harassment violates the Equal Protection

       Clause, it has long recognized that sex-based discrimination by

       state actors that does not serve important governmental objectives

       and is not substantially related to the achievement of those

       objectives is unconstitutional."           Sampson v. Cnty. of L.A., 974

       F.3d 1012, 1022 (9th Cir. 2020).           Accordingly, in a line of cases

       considering     sexual   harassment     claims     under    § 1983,       "we   have

       recognized       that    the     analytical       framework       for       proving

       discriminatory treatment under Title VII is equally applicable to

       constitutional claims."        Lipsett v. Univ. of P.R., 864 F.2d 881,

       896   (1st    Cir.   1988)   (alterations      omitted)     (quoting      White   v.

       Vathally, 732 F.2d 1037, 1039 (1st Cir. 1984)); see Pontarelli v.

       Stone, 930 F.2d 104, 113–14 (1st Cir. 1991), abrogated on other

       grounds by Graphic Commc'ns Int'l Union, Loc. 12-N v. Quebecor

       Printing Providence, Inc., 270 F.3d 1, 4 (1st Cir. 2001); Roy v.

       Correct Care Sols., LLC, 914 F.3d 52, 61–62 (1st Cir. 2019).

       Relevant here, Title VII has long been understood to prohibit the




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       creation of a hostile work environment.5         See Vance v. Ball State

       Univ., 570 U.S. 421, 426–27 (2013).

                  "A   hostile   work   environment    is   one    'permeated      with

       discriminatory    intimidation,     ridicule,     and      insult,   that    is

       sufficiently severe or pervasive to alter the conditions of the

       victim's employment.'"      Roy, 914 F.3d at 61 (quoting Harris v.

       Forklift Sys. Inc., 510 U.S. 17, 21 (1993)).            We have set out six

       elements that a plaintiff must establish in order to succeed on

       this type of claim:

                  (1) that she (or he) is a member of a protected
                  class; (2) that she was subjected to unwelcome
                  sexual harassment; (3) that the harassment was
                  based upon sex; (4) that the harassment was
                  sufficiently severe or pervasive so as to alter
                  the conditions of plaintiff's employment and
                  create an abusive work environment; (5) that
                  sexually   objectionable   conduct   was   both
                  objectively and subjectively offensive, such
                  that a reasonable person would find it hostile
                  or abusive and the victim in fact did perceive
                  it to be so; and (6) that some basis for
                  employer liability has been established.

       Id. at 62 (quoting O'Rourke v. City of Providence, 235 F.3d 713,

       728 (1st Cir. 2001)).     Our analysis starts with the last of these

       six elements before turning to the fourth -- the only other one

       that Budd appears to contest.


            5 Budd gestures at arguing that the standard to allege a
       hostile work environment under the Equal Protection Clause is more
       demanding than the standard to allege one under Title VII. While
       we find nothing in our prior decisions to support this proposition,
       we deem Budd's argument to be waived for lack of development. See
       United States v. Zannino, 895 F.2d 1, 17 (1st Cir. 1990).


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                                b. Individual Liability

                     "This case demonstrates how hostile work environment

       claims . . . under Title VII do not always fit easily within the

       context    of    individual   liability     under    § 1983."        Raspardo    v.

       Carlone, 770 F.3d 97, 114 (2d Cir. 2014).              Most notably, Title VII

       enables only "employees" to sue their "employers."                  See DeLia v.

       Verizon Commc'ns Inc., 656 F.3d 1, 4 (1st Cir. 2011).                    Here, as

       Budd repeatedly calls attention to in his brief, Pike was an

       employee of Wellspring, not the State of Maine. Does that preclude

       her ability to bring a § 1983 action alleging that Budd violated

       her   equal     protection    right   to   be   free    from    a   hostile    work

       environment?

                     We think not.     The employer-employee relationship is a

       crucial part of a Title VII claim because Title VII imposes

       liability only on "employers."             See 42 U.S.C. § 2000e-2(a) ("It

       shall be an unlawful employment practice for an employer . . . to

       discriminate      against     any     individual     with      respect    to    his

       compensation, terms, conditions, or privileges of employment,

       because     of    such   individual's . . . sex . . . . "                (emphasis

       added)); Fantini v. Salem State Coll., 557 F.3d 22, 30 (1st Cir.

       2009) ("[T]here is no individual employee liability under Title

       VII.").       That is why our Title VII hostile work environment

       framework requires that the plaintiff establish "some basis for

       employer liability."         Roy, 914 F.3d at 62 (quoting O'Rourke, 235


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       F.3d at 728).     By contrast, "Congress enacted § 1983 'to enforce

       provisions of the Fourteenth Amendment against those [individuals]

       who carry a badge of authority of a State.'"           Hafer v. Melo, 502

       U.S. 21, 28 (1991) (quoting Scheuer v. Rhodes, 416 U.S. 232, 243

       (1974)).    It would be a strange result then to bar Pike from

       bringing her § 1983 claim against Budd solely because she was

       employed by a non-state entity while leaving the door open for a

       § 1983 claim by a similarly situated member of the TRC team who

       happened to be a state employee, such as a prosecutor or probation

       officer.

                  We accordingly hold that, when considering a § 1983

       hostile work environment claim, the sixth element of our Title VII

       framework should be replaced with the requirement that a person

       responsible for the hostile environment acted under color of law:

       a plaintiff must show, among other things, that some basis for

       individual liability has been established.

                  Our   decision   in   Roy   supports    this   approach.       The

       plaintiff in that case worked as a nurse at a Maine state prison

       while employed by an outside company.       914 F.3d at 56.      She alleged

       that she had been subject to a months-long campaign of sexual

       harassment by the prison's corrections officers, id. at 57–61, and

       accordingly sued: (1) her employer under Title VII; (2) the Maine

       Department of Corrections under the Maine Human Rights Act; and

       (3) two individuals -- the prison's warden and deputy warden -


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       - under § 1983, id. at 56.        The plaintiff did not claim that either

       of the two individual defendants had participated directly in the

       sexual harassment, but rather that they "failed to stop prison

       staff from sexually harassing her in violation of the Equal

       Protection Clause."       Id. at 72.      The case came to us after the

       district court granted summary judgment to all defendants on all

       claims.    Id. at 56.

                   We structured our analysis in an intentional fashion.

       Noting that the plaintiff's "allegation[] that she was subjected

       to a hostile work environment . . . [was] an essential ingredient

       of [her] sexual harassment claims against all defendants," we first

       considered      whether    "a     reasonable     jury     could     find    that

       [plaintiff]'s work environment was hostile."               Id. at 61.      After

       concluding that it could, we "proceed[ed] to evaluate the liability

       of each defendant."       Id. at 65.

                   When we subsequently came to the warden and deputy

       warden,6 we did not say that they could not be liable to the

       plaintiff because they were not her "employer" or because she was

       not a state employee.       Instead, we explained that "[s]upervisors

       like [the warden and deputy warden] are liable under the Equal

       Protection Clause for a hostile work environment created by their


            6 We first found that bases existed for a jury to find liable
       the plaintiff's employer and the Department of Corrections. 914
       F.3d at 65, 68.    Accordingly, we reversed the district court's
       decision to grant summary judgment to those defendants. Id.


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       subordinates in state government only if their 'link' to the

       unlawful     harassment   was      one   of    'supervisory       encouragement,

       condonation, or acquiescence,' or 'gross negligence amounting to

       deliberate indifference.'"          Id. at 72 (quoting Lipsett, 864 F.2d

       at 902).    We went on to hold that, given the steps that the warden

       and deputy warden had taken to address some of the plaintiff's

       complaints    about   sexual      harassment,     the   two   individuals      were

       entitled to qualified immunity because "reasonable officials could

       have believed 'on the[se] facts' that no equal protection . . .

       violation    occurred."     Id.     at   72–73     (alteration     in     original)

       (quoting Dirrane v. Brookline Police Dep't, 315 F.3d 65, 69 (1st

       Cir. 2002)).

                   In the instant case, Pike's theory is that Budd is

       individually liable to her because he personally created a hostile

       work environment through his persistent advances that she had

       repeatedly made clear were unwelcome.                Unlike the plaintiff in

       Roy, she is not pursuing a theory of supervisory liability and

       therefore need not establish any additional "link" between Budd

       and the unlawful harassment.         Furthermore, as we explain below in

       Part II.C., Budd is not entitled to qualified immunity on this

       claim.7


            7 We discuss Lipsett more in our qualified immunity analysis
       below but note here that it too supports our conclusion that Pike
       should not automatically be barred from bringing a § 1983 hostile



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                     Having established that, notwithstanding the fact Pike

       and Budd did not share an employer, an individual basis exists for

       Budd's liability under § 1983, we proceed to consider the remainder

       of Pike's hostile work environment claim.

              c. "Severe or Pervasive so as to Alter the Conditions of
                               Plaintiff's Employment"

                     Budd also contends that the alleged conduct was not

       severe or pervasive because it was verbal rather than physical.

       However, whether the conduct is physical or verbal is not the

       linchpin of our inquiry.           Sexual harassment may be "physical

       gestures or verbal expressions."            Lipsett, 864 F.2d at 898.            The

       hostility of a work environment "does not depend on any particular

       kind     of    conduct[,] . . . [though]         behavior      like        fondling,

       come-ons,      and   lewd   remarks    is   often    the    stuff     of    hostile

       environment claims."        Billings v. Town of Grafton, 515 F.3d 39, 48

       (1st Cir. 2008) (collecting cases).            Rather, "[t]he point at which

       a   work      environment    becomes    hostile     or     abusive"      turns    on

       consideration of the surrounding circumstances, including (but not

       limited to) "the frequency of the discriminatory conduct; its


       work environment claim against Budd solely because she does not
       share his employer. Briefly put, the plaintiff in Lipsett was a
       resident physician at the University of Puerto Rico School of
       Medicine who brought, inter alia, a Title VII-like sexual
       harassment Bivens claim against a doctor at the San Juan Veterans
       Administration Hospital.    864 F.2d at 884.     We reversed the
       district court's decision to grant summary judgment to the
       defendant on the claim, even though the plaintiff and defendant
       did not share an employer. See id. at 912–14.


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       severity; whether it is physically threatening or humiliating, or

       a mere offensive utterance; and whether it unreasonably interferes

       with an employee's work performance."            Id. (quoting Harris, 510

       U.S. at 23).

                  In    reviewing       Budd's   alleged     conduct      "from    the

       perspective of a reasonable person in [Pike's] position," we

       conclude that Pike's complaint plausibly alleges a hostile work

       environment claim for the purposes of a motion to dismiss.                  Id.

       (quoting Oncale v. Sundowner Offshore Servs., Inc., 523 U.S. 75,

       81 (1998)).      We start by emphasizing that Budd's position of

       authority over Pike can be a contributing factor in a jury's

       determination of severity.         See, e.g., Craig v. M & O Agencies,

       Inc., 496 F.3d 1047, 1056 (9th Cir. 2007) (explaining that while

       the supervisor's conduct was "physically less threatening" then

       conduct alleged in other sexual harassment cases, the supervisor's

       "position as [the plaintiff's] immediate boss made his actions

       emotionally and psychologically threatening"); Quantock v. Shared

       Mktg. Serv., Inc., 312 F.3d 899, 904 (7th Cir. 2002) (per curiam)

       (concluding that a reasonable jury could find conduct sufficiently

       severe given the harasser's "significant position of authority at

       the company," the "close working quarters" between him and the

       plaintiff, and that he had made requests for sex directly to the

       plaintiff); see also Burlington Indus., Inc. v. Ellerth, 524 U.S.

       742, 763 (1998) ("[A] supervisor's power and authority invests his


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       or   her    harassing    conduct     with     a   particular       threatening

       character . . . . ").

                  With   this   in      mind,   we   cannot    agree    with     Budd's

       characterization of the alleged conduct as being "exclusively

       verbal."   Of course, allegations of inappropriate comments do form

       part of the basis for Pike's claim.           She alleges that Budd asked

       her to invite him into her hotel room; shared (unprompted) with

       her personal issues in his marital life and his receipt of sexual

       propositions due to his position as a judge; and questioned Pike

       about her personal life.         Budd is alleged to have commented on

       Pike's physical appearance -- both in private to Pike and in front

       of her colleagues -- and that of several female TRC clients; and

       even, while in Pike's presence, said to another female coworker "I

       can see your undergarments from here."8

                  However, these comments were not made in isolation but

       could be viewed by a jury as part of a mosaic of physically

       intimidating behavior.        Significantly, Pike claims that Budd's

       untoward behavior began with him lying about the location of his

       hotel room in an endeavor to follow Pike to her room.                  When Pike



            8 "Evidence of the harassment of third parties can help to
       prove a legally cognizable claim of a hostile environment."
       Hernandez-Loring v. Universidad Metropolitana, 233 F.3d 49, 55 n.4
       (1st Cir. 2000). It is therefore relevant here, in reviewing a
       motion to dismiss, that Pike alleges "Budd has a reputation for
       flirting with clerks," and "show[ing] favoritism toward[s] young,
       attractive, female drug court clients."


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       opened the door to her room, Budd allegedly stood close enough

       behind her to reach around and hold the door into her room open

       before he suggested he be invited in.                Not wanting to invite him

       in, Pike backed into the hallway whereupon, she claims, Budd

       repeatedly asked her to join him for a drink.                           Given Budd's

       presence outside her hotel room door, his attempt to enter her

       room, and his refusal to accept her objections to going downstairs

       with him, at this stage we cannot say that no jury could find it

       reasonable for Pike to feel "cornered and like she needed to get

       out of the hallway with Judge Budd and get him away from her room."

                  This interaction is relevant to the analysis for several

       reasons. First, we think that the intimidating nature of the event

       colors   how   a    reasonable       person     could     perceive      the   alleged

       inappropriate       comments     made         by     Budd     described        above.

       Additionally,      it   tends   to    establish       a   trend    of    potentially

       intimidating and, frankly, creepy behavior.                 At the next night of

       the conference, Budd allegedly followed Pike around at dinner and

       then to bars. Pike claims that Budd came up behind her "on multiple

       occasions," and when she went outside with a male coworker to

       discuss the judge's behavior, Budd followed her outside and again

       stood right behind her.          His alleged pursuit was so persistent

       that a coworker stated that Budd was watching Pike throughout the

       night and "he would pop up behind Mrs. Pike's shoulder every time

       she tried to get away from him."


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                    Further, a jury could find that the sexual advances and

       physically intimidating behavior did not end at the conference.

       Pike alleges that the next time she saw Budd, two weeks later, he

       used his position of authority to get Pike alone his chambers,

       alluded again to a pursing a sexually relationship with her, and

       came up behind her when Pike attempted to leave.                  Taking these

       asserted    claims   as    true,   we    cannot   say    that   Budd's     alleged

       physically intimating behavior combined with his repeated sexual

       advances is insufficiently severe to state a claim for sexual

       harassment.      See Cruz v. Coach Stores, Inc., 202 F.3d 560, 571-72

       (2d Cir. 2000) (finding that the "physically threatening nature of

       [the harasser's] behavior," which consisted of standing very close

       to women, looking them up and down in an uncomfortable way, and

       "repeatedly ended with him backing [the plaintiff] into the wall

       until she had to 'cut the conversation short' in order to extricate

       herself, brings this case over the line separating merely offensive

       or boorish conduct from actionable sexual harassment") superseded

       on other grounds by N.Y.C. Local L. No. 85.

                    To be sure, Budd's alleged conduct here was not as long-

       lasting or openly antagonistic as some cases where we have allowed

       hostile work environment claims to proceed.                See, e.g., Xiaoyan

       Tang v. Citizens Bank, N.A., 821 F.3d 206, 211–13, 217–18 (1st

       Cir.     2016)   (over    the   course    of   several    months,       supervisor

       repeatedly made inappropriate remarks about Asian women to Chinese


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       plaintiff, made sexual advance during performance review, and

       eventually became angry and aggressive after it became clear that

       plaintiff    was    not   interested).      Importantly,     Budd's   alleged

       cornering of Pike at the entrance to her room, in a hotel far from

       home, followed by his persistent and repeated tailing of Pike was

       more disconcerting than the conduct we have found to create a

       triable hostile work environment claim in the past.               See id. at

       41–42, 50 (supervisor would routinely stare at plaintiff's chest

       while speaking with her over the course of multiple years and once

       told another employee that plaintiff was "under [his] desk" when

       asked where she was); Vera v. McHugh, 622 F.3d 17, 21–22, 29 (1st

       Cir. 2010) (supervisor and plaintiff shared a small office for

       approximately three months where he would sit staring at her and

       move his chair close so that their legs would touch); Hernandez-

       Loring v. Universidad Metropolitana, 233 F.3d 49, 55 (1st Cir.

       2000) (supervisor repeatedly asked plaintiff to go on a date and

       used suggestive language towards her and others in workplace).

                   Also important is the degree to which Pike alleges that

       Budd     could     have -- and   did -- impact     her     employment     with

       Wellspring.      To wit, she alleges that Budd had the authority to

       remove members from the TRC team and that, if he had decided to

       remove her from the team, it would have eliminated approximately

       seventy-five percent of her job responsibilities for Wellspring.

       Pike also alleges that Budd had the authority to decide whether


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       TRC would renew Wellspring's contract.            Set against this backdrop,

       it is logical that harassment from Budd would have had a greater

       impact   on    Pike's     work   than   harassment    coming     from   a    less

       influential member of the TRC team.               Indeed, Pike alleges that

       Budd's misconduct caused Pike to avoid TRC after the conference,

       ask Falvey to attend TRC alongside her when she would normally

       attend alone, prompted her to skip a court appearance, and led a

       coworker to suggest that she leave early one day.

                     The    strongest   counter   that   Budd   can   muster   is    our

       decision in Ponte v. Steelcase Inc., 741 F.3d 310 (1st Cir. 2014).

       There, the plaintiff brought a Title VII claim against her former

       employer alleging, among other things, that her direct supervisor

       had sexually harassed her to the point of creating a hostile work

       environment.         Id. at 313.    Specifically, the plaintiff alleged

       that, while attending an out-of-state corporate training, her

       supervisor twice insisted on giving her a ride back to her hotel

       room after dinner with other employees.            Id. at 314.    On the first

       ride, the supervisor put his arm around the plaintiff for about a

       minute, and "emphasized to [the plaintiff] that he had done a lot

       to get her this job, and that she owed him to do 'the right thing

       by him.'"      Id.    On the second ride, the supervisor again put his

       arm around the plaintiff, this time for the majority of the

       fifteen-to-twenty-minute drive.            Id.     The plaintiff had been

       employed at the company for approximately a month when these events


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       occurred and was terminated approximately eleven months later.

       Id. at 313, 319.    She did not allege that harassment took place on

       any other occasion.    Id. at 314.    We affirmed summary judgment for

       the former employer, reasoning in relevant part that "no reasonable

       juror could conclude that the two incidents [in the car] were

       severe or pervasive enough to create a hostile work environment."

       Id. at 319–21.

                  But Ponte can be distinguished.       For starters, Ponte was

       decided on summary judgment, not a motion to dismiss.                Moreover,

       the Supreme Court has emphasized the importance of the subjective

       impact on the plaintiff of a defendant's alleged harassment.               See

       Faragher v. City of Boca Raton, 524 U.S. 775, 777 (1998) (noting

       the requirement that "a sexually objectionable environment must be

       both objectively and subjectively offensive); Harris v. Forklift

       Sys., Inc., 510 U.S. 17, 22–23 (1993) (holding that "the victim

       [must] subjectively perceive the environment to be abusive" but

       need not actually suffer "concrete psychological harm"). In Ponte,

       the plaintiff made no allegation that the supervisor's conduct

       created anything more than momentary "discomfort"; importantly,

       she also made no claim that the challenged conduct affected her

       ability to pursue her job or maintain her work performance.                741

       F.3d at 320.    Here, by contrast, Pike alleges in detail how Budd's

       allege conduct negatively and directly impacted her performance.

       Ponte thus does not persuade us that Pike has failed to allege


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       that she was subjected to actionable sexual harassment under the

       Equal Protection Clause.

                   Therefore,    considering     Budd    and   Pike's    shared     work

       setting and his authority over her as TRC's presiding judge,9 in

       combination with his alleged misconduct, we conclude that Pike's

       complaint sufficiently portrays a state-empowered supervisor who

       crossed     the    line   from    merely      making     uncomfortable        and

       inappropriate comments to one who engaged in sexual harassment.

       See Vera, 622 F.3d at 27-28 (noting that the shared workspace

       coupled with the defendant's inappropriate practices of staring

       and drawing close to the plaintiff amounted to an actionable

       hostile work environment claim).10

                                 C. Qualified Immunity

                   Qualified     immunity     protects     reasonable         government

       officials from civil liability when their conduct does not violate

       clearly established constitutional or statutory rights.                   Pearson

       v. Callahan, 555 U.S. 223, 231 (2009).             But qualified immunity



            9 This is not to say that a presiding judge, such as Budd,
       could be considered to alter the conditions of employment of all
       who appeared before him, such as a lawyer who occasionally appeared
       before Budd or a security officer who briefly interacted with Budd.
            10In reaching this outcome, we rely -- as we must -- on the
       fact that this issue arises on a Rule 12(b)(6) motion. Under that
       rule, we address only the "plausibility" of plaintiffs'
       allegations. Ashcroft, 556 U.S. at 679. Moreover, we draw all
       reasonable inferences in favor of the plaintiff.     See Burt, 84
       F.4th at 50.


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       does not protect "the plainly incompetent or those who knowingly

       violate the law."           District of Columbia v. Wesby, 583 U.S. 48, 63

       (2018) (quoting Malley v. Briggs, 475 U.S. 335, 341 (1986)).

       Rather, qualified immunity strikes a balance between individual

       constitutional rights and officials' duties.                     Souza v. Pina, 53

       F.3d 423, 425 (1st Cir. 1995).

                     To     determine      whether   the     applicable      law     is    well

       established, we inquire into (1) the clarity of the law at the

       time     of   the       alleged   violation   and    (2) whether      a      reasonable

       official, under the facts presented, would have understood that

       his conduct violated a constitutional right.                     Glik v. Cunniffe,

       655 F.3d 78, 81 (1st Cir. 2011).                  While we do not need a case

       directly           on      point,      "precedent         must      have           placed

       the . . . constitutional question beyond debate."                         Ashcroft v.

       al-Kidd, 563 U.S. 731, 741 (2011); Ablordeppey, 85 F.4th at 33

       (noting       that      "controlling    precedent       or   a    consensus        among

       persuasive authority" will suffice).                "[A] general constitutional

       rule already identified in the decisional law may apply with

       obvious clarity to the specific conduct in question, even though

       'the very [conduct] in question has not previously been held

       unlawful.'"          United States v. Lanier, 520 U.S. 259, 271 (1997)

       (second alteration in original) (quoting Anderson v. Creighton,

       483 U.S. 635, 640 (1987)); Hope v. Pelzer, 536 U.S. 730, 741 (2002)

       ("[O]fficials can still be on notice that their conduct violates


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       established law even in novel factual circumstances.").              All that

       is needed for a constitutional right to be clearly established is

       that it "be sufficiently clear that a reasonable official would

       understand that what he is doing violates that right."               Anderson,

       483 U.S. at 640; Harlow v. Fitzgerald, 457 U.S. 800, 819 (1982)

       (clarifying that if "an official could be expected to know that

       certain conduct would violate statutory or constitutional rights,

       he should be made to hesitate").       That being said, the particular

       conduct's violative nature must be clearly established in light of

       the specific facts alleged.      Brosseau v. Haugen, 543 U.S. 194, 198

       (2004) (per curiam); Anderson, 483 U.S. at 641 (explaining that

       violations within a specific context should "follow immediately"

       from clearly established principles).

                            1. Clearly Established Right

                   Budd argues that there is no controlling case law from

       the Supreme Court nor within our circuit that clearly establishes

       that an official in Budd's position who engages in his particular

       conduct in a shared work setting violates the Equal Protection

       Clause. Budd also asserts that there is no consensus of persuasive

       out-of-circuit authority that clearly establishes the same.                  We

       disagree.

                   In our circuit, it is clearly established that a state

       actor violates the Equal Protection Clause upon creating a hostile

       work environment.     Clearly established law instructs that sexual


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       discrimination violates the Equal Protection Clause, see Reed v.

       Reed, 404 U.S. 71, 76-77 (1971); that discriminatory treatment

       standards under Title VII are equally applicable to an equal

       protection claim, see White v. Vathally, 732 F.2d 1037, 1039 (1st

       Cir. 1984); that on-the-job sexual harassment "is actionable under

       [Section] 1983 as a violation of the equal protection clause," see

       Pontarelli v. Stone, 930 F.2d 104, 113 (1st Cir. 1991); that the

       "accumulated    effect"    of    repeated   verbal    harassment     in   the

       workplace may reasonably constitute sexual harassment, see Rosario

       v. Dep't of Army, 607 F.3d 241, 247 (1st Cir. 2010) (quoting

       O'Rourke, 235 F.3d at 729); and that if a "state official directly

       engage[s] in sexual harassment or sexual discrimination, he would,

       of course, be subject to section 1983 liability," Lipsett, 864

       F.2d at 901.

                  Budd then argues that Lipsett fails to provide notice to

       him because in that case: (1) the § 1983 equal protection claim

       was   brought   against   supervisors   responsible     for   managing    the

       medical residency program, (2) it was not determined whether the

       only defendant who directly harassed the plaintiff could be sued

       under § 1983, and (3) only a quid pro quo theory was addressed.

       Each of these aspects, which Budd believes did not provide him

       with fair warning that sexually harassing Pike would violate her

       equal protection right to be free from a hostile work environment,

       misses the mark.


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                    In Lipsett, a student-employee in a medical residency

       program brought a sexual discrimination claim against supervisors

       for the sexually harassing conduct of subordinates and against an

       individual doctor for his direct sexual harassment under the Equal

       Protection Clause and Title VII.       Id. at 896.      There, the court's

       decision to not thoroughly address whether the individual doctor

       could be sued under § 1983 was due to uncertainty as to whether

       the defendant could be considered a state actor for the purposes

       of § 1983.    Id. at 912 n.32.    No such issue exists here.            And the

       fact that supervisor liability was at issue under § 1983 does not

       fail to put Budd on notice that an official who directly sexually

       harasses another in a workplace setting would be subject to a §

       1983 suit.    Id. at 881, 901.    Lipsett unambiguously states that an

       official who sexually harasses an employee within the workplace is

       on notice that they may be sued under § 1983.           Id.

                    Furthermore, the technicality that quid pro quo rather

       than hostile work environment was at issue in Lipsett likewise

       does not fail to put Budd on notice.        For the "clearly established"

       analysis, we look to whether clearly established principles would

       provide notice that the particular conduct in the specific context

       before us would put a reasonable official on notice that such would

       amount to a violation of a constitutional right.                      While the

       particular conduct and specific context of the case are necessary

       to the "clearly established" analysis, such aspects will not limit


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       the    applicability            of   a    clearly        established     principle         if   it

       logically follows with obvious clarity that the official's conduct

       would violate that principle.                    Where we explained in Lipsett that

       "the disparate treatment standard of Title VII applies as well to

       claims arising under the equal protection clause" and explained

       that sexual harassment under Title VII was actionable under a quid

       pro quo or hostile environment theory of liability, it clearly

       follows that a state actor would be on notice that he may be sued

       under § 1983 for creating a hostile work environment.                                See id. at

       898-97.

                         Budd     relatedly           argues       that     Lipsett,        alongside

       Pontarelli, only provides notice that employers may be liable,

       pointing          to     the     lack     of     a    traditional        employer-employee

       relationship between him and Pike.                       But as we have explained, due

       to the unique shared work setting, Pike's role as a TRC counselor,

       and Budd's role as the presiding judge over TRC, the context of

       Pike        and        Budd's     working        relationship          is    akin       to      an

       employee-employer               relationship         such    that    clearly     established

       principles would put Budd on notice that his sexually harassing

       conduct      would       amount      to   a    constitutional         violation       of   equal

       protection rights.11              See also Shepherd v. Robbins, 55 F.4th 810,



               Due to this supervisor-like relationship, we decline to
              11

       discuss the employee-private contractor distinction in City of
       Richmond v. J.A. Croson Co., 488 U.S. 469 (1989), and O'Hare Truck



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       818 (10th Cir. 2022) (emphasizing that "the nature and degree of

       authority a defendant has over a plaintiff informs whether the law

       is clearly established").        In any event, we reject Budd's argument

       that he was not on notice that he could be held liable where he

       was not Pike's employer, for several reasons.

                  First, the fact that the defendant in cases asserting

       statutory liability for employers are usually employers offers no

       reason to suppose in the first instance that a defendant must be

       an employer in a case alleging a Fourteenth Amendment claim.

                  Second, it is certainly well established that a state

       actor who creates a hostile environment in the workplace, on the

       basis of sex, violates the law.         See Starnes v. Butler Cnty. Ct.

       of Common Pleas, 971 F.3d 416, 428 (3d Cir. 2020) ("[A] robust

       consensus of persuasive authority exists to clearly establish that

       creating    a   hostile   work    environment    constitutes          a   §   1983

       violation.").     And as we have explained, given the occasion on

       which Budd mistreated Pike, his reference to a connection between

       his status as a judge and sex, and his use of his authority in the

       courtroom and chambers, any regular judge would have easily known

       that using his authority to harass on the basis of sex someone




       Serv., Inc. v. City of Northlake, 518 U.S. 712 (1996), which
       involved discrimination based on race and political affiliation,
       respectively.


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       whose employment he controlled violated his status under the

       Fourteenth Amendment.

                   The   parties    also    debate     whether    it    was    clearly

       established that Budd was reasonably viewed as Judge Budd, who

       presided over the TRC, rather than private citizen Charles Budd,

       when he repeatedly demonstrated his interest in Pike.                  But Pike

       convincingly establishes that, in general, § 1983 liability turns

       on the state power wielded by defendant, not, as we have already

       discussed, on whether the defendant is plaintiff's employer or

       formal supervisor.     See, e.g., Johnson v. Martin, 195 F.3d 1208,

       1218 (10th Cir. 1999) (holding that it was clearly established

       that "to abuse any one of a number of kinds of [state] authority,"

       including    a    building   permitter        sexually    harassing      permit

       applicants, would constitute state action); Dan Vang v. Vang Xiong

       X. Toyed, 944 F.2d 476, 780 (9th Cir. 1991) (finding that a state

       official who worked for a job placement agency engaged in state

       action when he sexually harassed job seekers who came to him for

       assistance); Hayut, 352 F.3d at 744 (holding that a professor at

       a state university acts under color of state law when he "misuses

       [his] authority [over students] in the course of performing his

       duties," such as grading and teaching).

                   To locate the necessary state power in an employment

       context, courts have, as a shorthand, looked to "the substance of

       the individual defendant's job functions, rather than the form, to


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       determine    whether   an   employee   was    acting    in    a   supervisory

       capacity."    Zelinski v. Pa. State Police, 108 F. App'x 700, 703

       (3d Cir. 2004); see also Bonenberger v. Plymouth Tp., 132 F.3d 20,

       23 (3d Cir. 1997) ("There is simply no plausible justification for

       distinguishing between abuse of state authority by one who holds

       the formal title of supervisor, on the one hand, and abuse of state

       authority by one who bears no such title but whose regular duties

       nonetheless include a virtually identical supervisory role, on the

       other."); Markham v. White, 172 F.3d 486, 491–92 (7th Cir. 1999)

       (assuming that training seminar instructors employed by the Drug

       Enforcement Agency exercised state authority when they sexually

       harassed female police officers while training them and finding

       that the instructors violated equal protection as a matter of

       clearly established law, though the police officers worked for a

       different employer); David v. City and Cnty. of Denver, 101 F.3d

       1344, 1354 (10th Cir. 1996) (acknowledging that co-employees would

       be liable for sexual harassment under § 1983 to the extent they

       "in some . . . way exercised state authority over [plaintiff]").

                   But, at bottom, we think it clearly established that

       § 1983 liability requires a state actor to hold some power over

       the plaintiff whose rights he violates.         And the fact that no case

       involves a judge sexually harassing a subordinate who reports to

       a separate, private employer does not excuse a reasonable official

       in Budd's place from realizing that his conduct would not pass


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       muster    under   the   Constitution.        See   Hope,   536    U.S.   at   741

       ("[O]fficials can still be on notice that their conduct violates

       established law even in novel factual circumstances.").                     Here,

       Budd clearly acted as Judge Budd, who had significant power over

       Pike as a counselor working in his courtroom, when he committed

       the alleged conduct.

                   As a final note, on appeal Budd argues only that his

       conduct was not sufficiently severe or pervasive for Pike's claim

       to survive a Rule 12(b)(6) motion.           Budd nowhere argues it is not

       clearly established that his conduct was not severe or pervasive.

       In any event, our prior decision in Vera certainly put Budd on

       notice    that    repeatedly   "drawing      inappropriately     close"     to   a

       subordinate in such a way as to "violate [the subordinate's]

       privacy and the integrity of her personal space" can provide the

       basis for a triable claim of sexual harassment.12             622 F.3d at 27.


            12 Notably, we are not the only circuit to recognize that
       invading an individual's physical space can create a hostile
       environment in certain circumstances.     In vacating a grant of
       summary judgement in favor of an employer, the Second Circuit in
       Cruz found that the plaintiff had shown a triable issue of sexual
       harassment due to a hostile work environment under Title VII.
       Cruz, 202 F.3d at 570. The supervisor in question allegedly stated
       "that woman should be barefoot and pregnant," stood very close to
       women when talking to them, “look[ed] at [them] up and down in a
       way that's very uncomfortable,” and on some occasions, backed the
       plaintiff almost into a wall "until she had to 'cut the
       conversation short' in order to extricate herself." Id. at 571.
       The Second Circuit described this behavior as "physically
       threatening" so as to "bring[] this case over the line separating
       merely offensive or boorish conduct from actionable sexual
       harassment." Id.


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       In Vera, the plaintiff alleged that the supervisor with whom she

       shared her office space "stared at her in a sexual way, came so

       close to her that she could feel his breath, pulled his chair next

       to her so that their legs touched, laughed at her discomfort,

       blocked her escape from the cramped office with a closed door, and

       on one occasion called her 'Babe.'"          Id.   We explained that even

       though the parties had only shared an office for a "relatively

       short    duration,"   a   jury   could   find   that   "the   intensity    and

       frequency" of the conduct at issue could alter the conditions of

       the plaintiff's employment.       Id. at 29.

                   As explained above, Budd is alleged to have repeatedly

       made unwelcome and intimidating sexual advances towards Pike at

       the work conference and in chambers, including by repeatedly

       standing uncomfortably close behind her, watching her, cornering

       her at the threshold of her hotel room, and commenting on her and

       other females' appearances.        It naturally follows from Vera that

       a jury could conclude Budd's conduct was "so objectively offensive

       that a reasonable person would find it to be hostile or abusive."

       Id. at 29.    That the conduct at Vera occurred over the course of

       three months does not negate its application to this case.               As we

       noted there, "[a]lthough [the supervisor] did not overtly threaten

       [the plaintiff], the allegation that he blocked her from leaving

       the office [by closing a door] on at least one occasion suggests

       a physically threatening environment." Id. at 28 (emphasis added).


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       Budd, therefore, was on notice that cornering Pike outside her

       hotel room where her only way to leave the situation would be to

       join him for a drink could reasonably be viewed by a jury as

       creating a threatening environment -- one that is even more severe

       than that alleged in Vera given the proximity of the alleged sexual

       advance to a hotel room.

                   Moreover, we are convinced by the consensus of binding

       and persuasive authority referenced above that Budd was on notice

       that his position of authority over Pike could further contribute

       to the coerciveness of his actions, see Burlington Indus., 524

       U.S. at 763; Craig, 496 F.3d at 1056, even when the alleged hostile

       conduct is limited in number, see Quantock, 312 F.3d at 904.                 In

       summary, being that Budd was a state judge who repeatedly made

       unwelcome and intimidating sexual advances towards Pike, he would

       have reasonably known that such conduct falls within the realm of

       our clearly established principles.          Accordingly, Budd would be

       hard pressed to assert that he was unaware that his unwelcome

       sexual advances towards Pike would violate her equal protection

       right to be free from a hostile work environment.13


            13 While we disagree with Budd's characterization that the
       alleged conduct was "entirely verbal," we do note that unwelcome
       verbal sexual advances can present a trial-worthy claim of sexual
       harassment if they are persistent.     For example, in Hernandez-
       Loring, we vacated the dismissal of a hostile environment claim at
       summary judgement where a professor had alleged, "[w]ithout being
       specific as to dates," that the head of her promotion committee



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                   Qualified immunity is a "good faith" immunity involving

       the presumptive knowledge and respect for "basic, unquestioned

       constitutional rights."        Harlow, 457 U.S. at 815 (quoting Wood v.

       Strickland,     420   U.S.     308,     322    (1975)).         If     intentional

       discrimination    has   occurred,       then    "good     faith"      immunity   is

       logically excluded.     Goodwin v. Cir. Ct. of St. Louis Cnty., 729

       F.2d 541, 546 (8th Cir. 1984).                 Therefore, at the time Budd

       allegedly made his unwelcome sexual advances to Pike, a reasonable

       official in his position would have known that such conduct would

       violate the equal protection right to be free from a hostile work

       environment.

                                      III. Conclusion

                   In summary, it is clear that the Fourteenth Amendment

       prohibits     state   actors     from    employing      their        authority   to

       discriminate on the basis of sex.             See Sampson, 974 F.3d at 1022-

       23 (listing cases).     It is equally clear that creating a hostile

       environment in the workplace on the basis of sex is one form of

       sex discrimination.     See, e.g., Meritor Sav. Bank, FSB v. Vinson,


       "repeatedly asked her for dates and used suggestive language toward
       her" and was "known to have used suggestive and offensive language
       to students in class." 233 F.3d at 55-56. Where here Budd is
       alleged (together with the intimidating conduct discussed at
       length above) to have a "reputation for flirting with clerks,"
       "show[ing] favoritism toward[s] young, attractive, female drug
       court clients," making several unwelcome advances towards Pike in
       a short amount of time, and commenting on a female co-worker's
       underwear, we cannot say Budd was without notice that his actions
       may have violated Pike's equal protection rights.


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       477 U.S. 57 (1986).           Thus, as we have previously spelled out, a

       state actor who employs his or her state authority to create a

       hostile work environment in the workplace violates the Fourteenth

       Amendment. See Lipsett, 864 F.2d at 896–98, 901 ("If . . . a state

       official         directly    engaged    in     sexual        harassment       or    sexual

       discrimination,        he    would,    of    course,    be     subject    to       [§] 1983

       liability.").        As we have explained, Budd is alleged to have done

       just that.        As a result, even though we do not have a prior case

       on all fours with this one, cases that clearly establish each of

       the      above    elements    suffice.         See     Hope,     536     U.S.      at   741

       ("[O]fficials can still be on notice that their conduct violates

       established law even in novel factual circumstances.").

                    For     the    foregoing       reasons,    we    vacate     the       district

       court's grant of dismissal for Budd based on qualified immunity

       and remand for further proceedings in light of this opinion. Costs

       are taxed in favor of the appellant.




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